35 F.3d 571
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.Michael L. RICE and Billie M. Rice, Plaintiff-Appellee,v.UNITED STATES of America, Defendant-Appellant.
    No. 93-16272.
    United States Court of Appeals, Ninth Circuit.
    Submitted April 11, 1994.*Decided Sept. 7, 1994.
    
      Before:  GOODWIN, FERGUSON, and TROTT, Circuit Judges.
    
    
      1
      MEMORANDUM**
    
    
      2
      For the reasons expressed in our opinion in Schmitz v. Commissioner, No. 93-70960, the judgment of the district court is
    
    
      3
      AFFIRMED.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.  Fed.R.App.P. 34(a) and Ninth Circuit Rule 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by Ninth Circuit Rule 36-3
      
    
    